          Case 2:22-cv-02107-SMB Document 20 Filed 01/04/23 Page 1 of 1



 1
 2
 3
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                          No. CV-22-02107-PHX-SMB
10                   Plaintiff,                         ORDER
11   v.
12   Douglas A Ducey, et al.,
13                   Defendants.
14
15            THIS MATTER came before the Court on the parties’ Stipulation to Stay
16   Deadlines (Doc. 19). The Court, being advised of the premises, finds that the Stipulation
17   is well-taken and GRANTS the Stipulation, as follows:
18         1. All deadlines in this case are stayed;
19         2. This stay of deadlines has no effect on the terms, implementation, or enforcement
20            of the stipulation filed with the Court on December 21, 2022, ECF No. 17.
21         3. The parties are directed to file a joint status report no later than 30 days from the
22            date of this order advising the Court on the status of this case and proposing
23            further proceedings.
24            Dated this 4th day of January, 2023.
25
26
27
28
